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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION

 AVITUS, INC.,                            Cause No. CV-18-146-BLG-SPW-TJC

                             Plaintiff,

        -vs-                                  DEFENDANTS’ RULE 12(b)
                                            MOTION TO DISMISS WITHOUT
 SCOOBEEZ, INC., SHAHAN                             PREJUDICE
 OHANESSIAN, SCOOBEEZ
 GLOBAL, INC., and JOHN DOES
 1-10,

                          Defendants.

      Pursuant to Fed. R. Civ. P. 12(b)(6), Defendants Scoobeez, Inc., Shahan

Ohanessian, and Scoobeez Global, Inc. respectfully move the Court to dismiss this

case without prejudice. A brief in support is being filed concurrently with this

motion. Plaintiff’s counsel has been contacted and objects to the motion.

                                 MOULTON BELLINGHAM PC
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         DATED this 21st day of November, 2018.

                                               MOULTON BELLINGHAM PC


                                               By ___/s/ Adam J. Tunning____
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